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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           CRIMINAL NO: 22-CR-223 (NEB/DTS)




United States of America,
              Plaintiff,                          DEFENDANT AIMEE BOCK’S
                                                   MOTION IN LIMINE NO. 5
vs.
Aimee Marie Bock (1),
              Defendant.




                                   INTRODUCTION

       Defendant Aimee Marie Bock (hereinafter “Defendant”), through her counsel,

Kenneth Udoibok, respectfully moves this Court to preclude the Government from

introducing certain evidence and making certain arguments. Bock reserves the right to

file additional motions in limini once she has reviewed the Government’s recently

produced witnesses and exhibits list.

                               MOTION IN LIMINE NO. 5
                                 (Hadith Yusuf Ahmed)

       The Government should be precluded from calling Hadith Ahmed as a witness

because his testimony is unreliable, he refused to answer questions from defense, and the

Government failed to produce material impeachment evidence. At a minimum, Hadith

should be precluded from offering any testimony about Feeding Our Future’s operations

generally or how any claims or sites were reviewed or handled specifically.



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       For over three years, the Government has had in its possession Ahmed’s cell phone

that he was issued while at Feeding Our Future and his iPad, which tracked his

interactions with various sites and other Feeding Our Future employees. The devices

contain exculpatory and impeachment information showing that all claims submitted

through Feeding Our Future were subjected to the same administrative process that

involved numerous employees and individuals. The information on those devices

conclusively shows that Bock did not in any way, shape, or form facilitate any claims

getting special treatment or avoiding Feeding Our Future’s typical checks. The cell phone

and iPad also likely contain documents showing that Ahmed was actively hiding the

fraud he personally committed from Bock and Feeding Our Future. Nonetheless, the

Government chose not to produce Ahmed’s cell phone or his iPad, and with less than a

month before trial, Bock had not received or had time to review those devices.

       It is also not clear if the Government has Ahmed’s Feeding our Future emails, but

Bock has been requesting them for some time and the Government has yet to provide

them or categorically state it never bothered to obtain them.

       The significance of the Government’s failure to produce these documents cannot

be overstated. For example, during the first trial, Ahmed testified that he was given a

$45,000 kickback from Community Enhancement Services:



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                                   [blank]



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Tr. 2823:1-25.




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      Ahmed explained that in exchange for the “kickback,” he placed Community

Enhancement Services’ claim on Bock’s desk and that she approved the claim without

submitting it through the typical Feeding Our Future claims process. Id. The limited

documents the Government produced for the first time on December 12, 2024, however,

conclusively demonstrate that was not true. The documents show that the claim was

submitted through the typical Feeding Our Future process, that it was reviewed and

processed by several Feeding Our Future employees, and that Bock had nothing to do

with the claim.

      Similarly, during the first trial, the Government elicited testimony from Ahmed

that Feeding Our Future employees were not doing site visits:




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Tr. 2777:19-2778:7.

       As Bock has only now learned from media reports, the Government had in its

possession Ahmed’s and other Feeding Our Future employees’ devices that proved that

was not true. The devices the Government chose not to produce establish that Ahmed and

other Feeding Our Future employees did numerous site visits.

       For example, on April 15, 2021, a device shows that two different Feeding Our

Future employees visited Safari. The devices also show that Feeding Our Future

vigorously invested possible concerns, and that Ahmed himself conducted monitoring

visits and invited others to go with him:




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Zara Frost: https://feedingourfuture.substack.com/p/doubt-and-deception-examining-the

      Again, the Government made an intentional and deliberate decision not to produce

Ahmed’s devices that track his activities while at Feeding Our Future. By deciding to not

produce his devices and to only make a limited production of Monday.com for the first

time less than two months before trial, the Government decided not to place Ahmed’s

activities while a Feeding Our Future at issues in this trial. The Government cannot

decide not to produce evidence about what Ahmed did at Feeding Our Future and how

claims were processed and then call Ahmed at trial to elicit testimony about what he did

at Feeding Our Future and how claims were processed.

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      It is an abuse of all Defendants’ constitutional rights for the Government to elicit

testimony from Ahmed that Feeding Our Future employees did not conduct site visits

when it knows that testimony is false and contradicted by terabytes of data the

Government chose not to produce.

      The Government should also be precluded from calling Ahmed as a witness

because he was clearly not credible, and he refused to answer questions from defense

counsel. During his cross-examination, Ahmed testified over 80 times that he did not

know or did not recall basic information. His testimony was so bad, it led counsel to ask

if anything had happened to him overnight that had caused him to forget everything,

including his testimony from the previous day:




Tr. 3126:24-3127:13.

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       The Government has an obligation to not knowingly elicit false or misleading

testimony, and this Court can safeguard the sanctity of the trial proceedings by precluding

evidence that lacks credibility. See, e.g., Napue v. Illinois, 360 U.S. 264, 269-70 (1959)

(holding that the government may not introduce or elicit testimony known to be false);

Giglio v. United States, 405 U.S. 150, 154 (1972) (holding that the government may not

present false evidence nor allow false testimony to stand uncorrected); United States v.

White, 724 F.2d 714, 716–17 (8th Cir. 1984) (“A prosecutor may not suppress material,

exculpatory evidence, introduce or elicit testimony known to be false, or allow false

testimony to stand uncorrected.” (internal citation omitted).

       The Government should be precluded from calling Hadith Ahmed as a witness at

trial because it chose not to produce material impeachment evidence and because his

testimony lacks credibility.

                                                  Respectfully Submitted

                                                  KENNETH UBONG UDOIBOK, P.A.

January 13, 2025                                  /s/Kenneth U. Udoibok
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